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preme Court of the United States

Office of the Clerk
Washington, DC 20543-0001

Scott S. Harris
Clerk of the Court
(202) 479-3011

December 28, 2023

Clerk
United States Court of Appeals for the Eleventh
Circuit

56 Forsyth Street, N.W.
Atlanta, GA 30303

Re: Department of Treasury, et al.
v. West Virginia, By and Through Patrick Morrisey, Attorney
General of the State of West Virginia, et al.
Application No. 23A502

(Your No. 22-10168) _ i (+
Dear Clerk:
The application for a further extension of time in the above-entitled
case has been presented to Justice Thomas, who on December 28, 2028,

extended the time to and including February 9, 2024.

This letter has been sent to those designated on the attached
notification list.

Sincerely,
Sco . Harhis,
by

Rashonda Garner
Case Analyst

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Supreme Court of the United States
Office of the Clerk
Washington, DC 20543-0001

Scott S. Harris
Clerk of the Court

NOTIFICATION LIST (202) 479-3011

Mrs. Elizabeth B. Prelogar

Solicitor General

United States Department of Justice
950 Pennsylvania Avenue, NW
Washington, DC 20530-0001

Clerk

United States Court of Appeals for the Eleventh Circuit
56 Forsyth Street, N.W.

Atlanta, GA 303038

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